                      UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION- BAY CITY


 IN RE:                                        Chapter 7 Bankruptcy
                                               Bankruptcy No. 21-20908
 Ilakeisa Luckado                              HON. Daniel Opperman

       Debtor
 __________________________________/

                 ORDER OF REDEMPTION UNDER 11 U.S.C. §722


 Upon the motion of the Debtor and there having been no responsive filing or objection
 within the time required, the Court finds as follows:

 1.   The tangible personal property described below is intended primarily for personal,
 family or household use of the debtor (s):

        Year 2007            Make Saturn              Model Aura

                               VIN # 1G8ZS57N37F235882

 2.   The debt owing the Creditor is a dischargeable consumer debt and the Debtor (s)
      interest in such property is exempt or has been abandoned by the estate.

 3.   The value of the secured claim of the Creditor for redemption purposes, the
      “redemption amount” is $502.00.

 IT HEREBY ORDERED, that the Debtor (s) may redeem the subject property by
 paying to the Creditor on or before the thirtieth (30th) day following entry of this Order
 the redemption amount. Upon timely receipt of such payment, the Creditor is ordered to
 cancel its lien of record and surrender the certificate of title in accord with the Debtor
 instruction. In the event of the failure of the Debtor (s) to pay the redemption amount
 within such time frame, the automatic stay shall immediately terminate.




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